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                          IN THE LINITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

T]NITED STATES OF AMERICA,                           AMENDED VERIFIED COMPLAINT FOR
                                                     FORFEITURE IN REM
                         Plaintiff,

          VS.


2OI4 JEEP GRAND CHEROKEE,                            Case   No. 2:16CV001145 CW
VIN: 1C4RJFDJ4EC30968 l,
                                                     Judge Clark Waddoups
                         Defendant.



          Pursuant to Supplemental Rule G(2) of the Federal Rules of   Civil Procedure, the United

States of America files this in rem action for forfeiture. The United States alleges:

                                      NATURE OF THE ACTION

          1.     This is a forfeiture action under 21 U.S.C. $ 881(aX6) and 18 U.S.C.

$   981(aXl)(A). The United States seeks forfeiture of a 2014   Jeep Grand Cherokee,    VIN:

1C4RIFDJ4EC309681 ("Jeep") because this properly was purchased with proceeds from the sale

or exchange of a controlled substance in violation of 21 U.S.C. $ 8a1(aX1). It also seeks

forfeiture of the Jeep because it was involved in a transaction conducted in violation of 18 U.S.C.

$ 1957.

                                      JURISDICTION AND VENUE

          2.     This Court has subject matter jurisdiction over this matter under 28 U.S.C. $$

1345 and 1355(a) and in rem jurisdiction is proper under 28 U.S.C. $ 1355.
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       3.        Venue in this Court is proper under 28 U.S.C. $$ 1355(b)(1)(A) and 1391(b)

because the acts giving rise to the forfeiture occurred in the   District of Utah, and28 U.S.C.   $


1395 because the Defendant property was seized in the District of Utah.

                                              PARTIES

       4.        Plaintiff is the United States of America.

       5.        The Defendant Property is identified as a:

             o   2014 Jeep Grand Cherokee,    VIN: 1C4RJFDJ4EC309681

       6.        The Defendant Property has been seized pursuant to a seizure warrant and is

currently in the custody of the Federal Bureau of Investigation. The United States does not

request authority from the court to seize the Defendant Property at this time.

                                               FACTS

       7.        In approximately May 2013, as part of an investigation of the drug trafficking

activities of Wayne LeRoy Burr, law enforcement conducted a surveillance operation on an auto

shop in Salt Lake City that Mr. Burr used for his drug distribution activities.

        8.       During the surveillance of Mr. Burr's house, law enforcement observed, on

several occasions, individuals moving methamphetamine and heroin in and out of the auto shop.

        9.       Investigators found that Mr. Burr operated primarily in cash, and purchased

vehicles primarily in cash. Mr. Burr's state tax returns reported an income of $16,403.00 in 2010

and $13,186.00    in 2011. Mr. Burr did not file a tax retum in2012.

        1   0.   Between February 12, 2013 and Novemb er 23 , 2013 , Mr. Burr purchased multiple

vehicles from local dealerships. The investigation revealed that Mr. Burr purchased these
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vehicles, but had the vehicles titled in the name of nominees. Investigators nevertheless

observed   Mr. Burr using the vehicles.

        11.      On August 16,2}l3,pursuant to a court order authoizingthe interception             of

communications, law enforcement officers intercepted a conversation between Mr. Burr and the

Finance Manager at Ken Garff West Valley Dodge. Mr. Burr had previously purchased a

number of vehicles from this dealership. Mr. Burr told the Finance Manager that he wanted to

purchase another vehicle.

        12.     Later, on October 7,2013, David Miramontes, Mr. Burr's relative who was also

involved in the distribution of controlled substances, went to the Ken Garff West Valley Dodge

dealership and purchased a 2014 Jeep Cherokee with cash. (A copy of the sales receipt from the

dealership is attached as Exhibit 1)

       13.      Specifically, on October 7,2013, Mr. Miramontes made a $70,000.00 cash

payment toward the purchase of the Jeep. (A copy of a deposit slip for the receipt of this cash is

attached as Exhibit   2).   On Octobe   r   29,2013,Mr. Miramontes paid another $5,000.00 in cash

toward the Defendant Jeep. (A copy of the cash receipt for $5,000 is attached as Exhibit 3). On

November 25,2013, Mr. Miramontes paid the remaining balance of $3,800.00 in cash for the

purchase of the Jeep.   (A copy of the cash receipt for $3,800 is attached   as   Exhibit 4). Mr.

Miramontes later admitted that he knew this at least a portion of this cash represented the

proceeds of drug trafficking.

        14.     Moreover, investigators found that Mr. Miramontes had no legitimate source           of

income sufficient to pay cash for the Jeep. Mr. Miramontes did not file a tax return for 2010,
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20ll   or 2012. The Department of Workforce Service records indicate that Mr. Miramontes

eamed $0.00 in 2010,   $I   ,343.00 in 2011, $714.00 in 2012 and $0.00 in 2013 for reportable

wages.

         15.   On March 28,2074, the United States obtained a seizure warrant for the Jeep.

Law enforcement agents were unable to locate the Jeep during the execution of the original

seizure warrant. See   2:l4MJ84 PMW.

         16.   On October 29,2014, Mr. Miramontes, pleaded guilty to Possession       of

Methamphetamine with Intent to Distribute and Money Laundering in violation of 21 U.S.C.         $


8a1(a)(1) and 18 U.S.C. $ 1957. In his plea agreement, Mr. Miramontes admitted to purchasing

the Jeep from an auto dealership and using cash from drug trafficking for at least part of the

purchase price for the Defendant    Jeep.   See United States of America v. David Miramontes,

2:14CR00154 DN, ECF No. 178.

         17.   Investigators later leamed that the Jeep was located in an outbuilding near the

rural home where Mr. Burr and Mr. Miramontes's mother lived.

         18.   On July 1I,2016, a new federal seizure warrant was issued for the leep. See

2:16MJ380-JPO. Agents seized the Jeep and it is now in federal custody.

         19.   The FBI initiated an administrative forfeiture proceeding against the Jeep.

Despite his earlier admission that he purchased the Jeep using the proceeds of drug trafficking,

Mr. Miramontes filed a claim that he owned the Jeep in the administrative proceeding.
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                                             COUNT      1


                                       21 u.S.C. $ 881(a)(6)

        20.    The United States reasserts all allegations previously made.

        21.    21 U.S.C. $ 881(a)(6) provides for the forfeiture of   "All moneys, negotiable

instruments, securities, or other things of value furnished or intended to be fumished by any

person in exchange for a controlled substance or listed chemical in violation of this subchapter,

all proceeds traceable to such an exchange, and all moneys, negotiable instruments, and

securities used or intended to be used to facilitate any violation of this subchapter."

       22.     As set forth above, the Defendant Property is subject to forfeiture pursuant to 21

U.S.C. $ 881(a)(6) on the grounds that the Jeep was purchased with proceeds from the sale or

exchange of a controlled substance.

                                             COUNT     2


                                      18 u.S.C. $   e81(a)(lXA)

       23.     The United States reasserts all allegations previously made.

       24.     18 U.S.C. $ 981(a)(1)(A) provides     for forfeiture of "Any property, real or

personal, involved in a transaction or attempted transaction in violation of section 1956,1957 or

1960 of this title, or any property traceable to such property."

       25.     As set forth above, the Defendant Property is subject to forfeiture pursuant to 18

U.S.C. $ 981(a)(l)(A) on the grounds that it was involved in a transaction conducted in violation

of 18 U.S.C. $ 1957.
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                                    REQUEST FOR RELIEF

       WHEREFORE, the United States respectfully asserts that the Defendant Property is

forfeitable to the United States under 21 U.S.C. $ 881(aX6) and 18 U.S.C. $ 981(aX1XA).

    The United States further requests:

           A.     That Notice of this action be given to all persons known or thought to have an

                  interest in or right against the Defendant Property;

           B.     That a Judgment of Forfeiture be decreed against the Defendant Property;

           C.     That upon the issuance of a Judgment of Forfeiture, the United States

                  Marshals Service dispose of the Defendant Property according to law; and

           D.      That the United States receives its costs of court and all further relief to

                  which it is entitled.




       DATED    this?\   day of Mar ch, 2017.

                                              JOHN W. HUBER
                                              United States Attorney




                                                       L. M\JRRAY
                                              Assistant U.S. Attomey
      Case 2:16-cv-01145-CW-BCW Document 10 Filed 04/13/17 Page 7 of 16




                                        \rERIFICATION

       I am a Special Agent with the Federal Bureau of Investigation. As a Special Agent with

the FBI, my duties and responsibilities include participating in the investigation and prosecution

of persons who violate federal laws.

       I have read the contents of the foregoing Amended Complaint for Forfeiture In Rem and

verify under penalty of perjury pursuant to 28 U.S.C . 5 1746that the statements contained

therein are true and correct to the best of my knowledge and belief.

       Executed on this   a3     day of March,2017.




                                           Jason         y, Special Agent
                                                    Bureau of Investigation
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